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                      Exhibit 19
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Arafat Endorses Statement Recognizing Israel’s Right To
Exist
  apnews.com/article/c151f7d45d4eb12e8cbcce74a0a5e9cc


STOCKHOLM
(AP) _ PLO
leader Yasser
Arafat ended two
days of talks with
a U.S. Jewish
delegation
Wednesday by
endorsing a
                                   AP                      ASSOCIATED PRESS
                                                           apnews.com
statement
accepting Israel’s
right to exist.

At a news
conference,
however, Arafat
seemed less
straightforward
than the
document he endorsed, and he declined to confirm or repeat the statement’s key clauses.

The document, which also denounced terrorism, was hailed by the Jewish group as the most
unequivocal acceptance of Israel ever given by the Palestine Liberation Organization. The
Jewish group urged the U.S. government to end its ban on talks with the PLO.

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Foreign Minister Sten Andersson, who arranged the meeting, called the document ″historic,″
but said it was one step in a long process.

Arafat described it as ″nothing new,″ but was ″an accurate reading and interpretation″ of the
policy declaration adopted last month by the PLO’s legislative arm, the Palestine National
Council.

The PLO’s parliament-in-exile endorsed U.N. resolutions 242 and 338, which recognize the
right of all states in the region to exist within secure borders. But the council did not mention
Israel by name.



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The two-page statement released Wednesday said the council ″established the independent
state of Palestine and accepted the existence of Israel as a state in the region.″

The council also ″declared its rejection and condemnation of terrorism in all its forms,
including state terrorism,″ said the English-language document, read by Andersson and
distributed to reporters.

Arafat said the renunciation of terrorism excluded the uprising by Palestinians in the Israeli-
occupied West Bank and Gaza Strip, which enters its second year Thursday.

″The uprising will continue week after week until the end of the Israeli occupation of our
homeland,″ he said.

He also said he remained committed to his 1985 Cairo declaration to end terrorism outside
Israel and the occupied territories.

″There was no greater thrill in my life than when Yasser Arafat signed on last night, very
clearly, very assertedly, the acceptance of the state of Israel in the region (and) a
denunciation of violence,″ said Stanley Sheinbaum, a Los Angeles publisher and economist.

In New York, the president of the American-Arab Relations Committee, M.T. Mehdi, broke
ranks with Arafat on Wednesday, telling a group of Arabs that ″Arafat is no longer my friend;
his recognition of Israel will not lead to peace in Palestine.″

In Jerusalem, Israeli Foreign Minister Shimon Peres said it was ″very strange″ that Arafat
refused to make the declaration himself, but he made no comment on the substance of the
document.

″If the PLO has something to say, since when is the Swedish foreign minister a PLO
spokesman ... What, Arafat doesn’t know how to read and write?″ Peres said.

Israeli Prime Minister Yitshak Shamir rejected the statement, saying the PLO’s goal remains
the destruction of the Jewish state.

President Reagan declined comment, saying his administration had not had time to study the
text. The United States has demanded the PLO recognize Israel’s right to exist and renounce
terrorism before it begins talks with the organization.

The five-member Jewish group sought the assurances to clear away misgivings left from the
Palestinian council resolutions regarding recognition of Israel.

Asked to endorse the clause verbally, Arafat replied: ″This was clear in resolutions adopted in
the last session of our Palestine National Council where we said clearly there are two states in
Palestine, the Palestinian state and the Jewish state, Israel.″




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Despite Arafat’s evasiveness, the Jewish delegation said the wording in the document was
stronger than the formula sought by Washington, and could clear the way for U.S.-PLO talks.

″The conditions the United States has been insisting on since 1976 have been met,″ said
delegation leader Rita Hauser of New York.

The delegation has been widely dismissed by Israel and by U.S. Jewish leaders, since none
represented a major U.S. Jewish group.

The group was from the U.S. arm of the International Center for Peace in the Middle East, a
Tel Aviv-based leftist group with branches in Israel, the United States and Europe.

Morris B. Abram, chairman of the Conference of Presidents of Major Jewish Organizations,
said in New York that the group members were ″willing dupes of the PLO.″

″Arafat says he rejects terrorism, but he declares the intefadeh (uprising) will continue,″
Abram said. ″That is a typical Arafat deception.″




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